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                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION


RICKEY R. WALKER,

         Plaintiff,                             :       Case No. 2:19-cv-3186

         -vs-                                           Judge Sarah D. Morrison
                                                        Magistrate Judge Chelsey M. Vascura
L BRANDS, INC., et al.,
                                                :
         Defendants,


KURT J. MITTS,

         Plaintiff,                             :       Case No. 2:19-cv-3961

         -vs-                                           Judge Sarah D. Morrison
                                                        Magistrate Judge Chelsey M. Vascura
L BRANDS, INC., et al.,
                                                :
         Defendants.


                                                ORDER

         This matter is before the Court upon Daniel O’Leary’s Motion for Consolidation of

Related Actions, Appointment as Lead Plaintiff, and Approval of Selection of Lead Counsel

(ECF No. 12). 1 For the reasons that follow, the Court GRANTS Mr. O’Leary’s Motion.

I.       SUMMARY OF PENDING ACTIONS AND FACTUAL ALLEGATIONS

         Accepting the facts as stated by Plaintiffs, Defendant L Brands is a global retailer of

women’s intimate apparel, personal care, and beauty products that includes, among other

businesses, Victoria’s Secret and Pink. (Compl., ¶¶ 6, 15, ECF No. 1). These two entities account



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             All record citations refer to documents filed in Case No. 2:16-cv-3186 unless otherwise
noted.
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for more than half of L Brands’ total business. (Id. ¶ 20). L Brands maintains its executive

offices in Columbus, Ohio and its common stock is listed and traded on the New York Stock

Exchange (“NYSE”). (Id. ¶ 6). Defendant Leslie H. Wexner is L Brands’ Chairman of the Board

of Directors and Chief Executive Officer and Defendant Stuart B. Burgdoer is L Brands’

Executive Vice President and Chief Financial Officer. (Id. ¶¶ 7–8).

       Prior to and during the Class Period (May 31, 2018 to November 19, 2018), Victoria’s

Secret and Pink began experiencing deteriorating operating performances due to competition

from new brands. (Id. ¶ 18). As a result, the two businesses engaged in extensive promotional

activities. (Id. ¶ 19). While this helped mitigate declining sales, it also adversely impacted L

Brands’ profit margins and cash flows. (Id.). In response, Defendants were faced with questions

about the sustainability of L Brands dividends. (Id. ¶ 21). For several months, Defendants

allegedly misled investors by making false and misleading statements that L Brands had

sufficient cash flow and cash on hand to sustain its dividends as it had historically done. (Id.).

This caused L Brands stock to trade at artificially inflated prices as high as $38 per share during

the Class Period. (Id. ¶¶ 43, 51). However, on November 19, 2018, L Brands announced that it

was cutting its dividend in half so it could pay down its existing debt, causing L Brands stock to

decline 18% to $28.43 per share. (Id. ¶ 22).

       Plaintiff Rickey Walker, on behalf of himself and all purchasers of L Brands common

stock during the Class Period, filed the first lawsuit (2:19-cv-3186) on July 23, 2019, alleging

that Defendants engaged in a course of conduct to artificially inflate the price of L Brands

common stock in violation of Sections 10(b) and 20(a) of the Securities and Exchange Act of

1934 (the “Exchange Act”) and Rule 10b-5 promulgated thereunder. Upon filing the Complaint

and pursuant to 15 U.S.C. § 78u-4(a)(3)(A)(i), Mr. Walker’s counsel published the required



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notice to members of the purported class, which advised class members of the existence of the

lawsuit and described the claims asserted. (ECF No. 12-3). The notice also advised class

members of their right to file a motion for appointment as Lead Plaintiff no later than 60 days

after the notification was published. (Id.). On September 9, 2019, a second lawsuit (2:19-cv-

3961) was filed by Plaintiff Kurt J. Mitts, on behalf of himself and all purchasers of L Brands

securities during the Class Period, alleging identical claims against Defendants. On September

23, Daniel O’Leary, a purported class member, moved the Court to consolidate the related

actions, appoint him as Lead Plaintiff, and approve his chosen law firm as Lead Counsel in the

related actions. 2

II.     CONSOLIDATION

        Pursuant to Fed. R. Civ. P. 42(a), the court may consolidate actions that “involve a

common question of law or fact.” See also 15 U.S.C. § 78u-4(a)(3)(B)(ii). Upon review of the

Complaints filed in Case Nos. 2:19-cv-3186 and 2:19-cv-3961, the actions appear to involve

identical legal and factual issues and assert the same or substantially the same claims arising

under 15 U.S.C. § 78u-4. Accordingly, the request for consolidation is GRANTED.

III.    APPOINTMENT OF LEAD PLAINTIFF

        The Private Securities Litigation Reform Act of 1995 (“PSLRA”) requires courts to

appoint a lead plaintiff during the initial stages of litigation. Within 60 days following the

publication of the national notice advising members of the purported class of the private

securities class action, 3 “any member of the purported class may move the court to serve as lead



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          One other candidate, Paula Afshani, originally moved to be Lead Plaintiff but has since
withdrawn her Motion. (ECF No. 16).
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          “If more than one action on behalf of a class asserting substantially the same claim or
claims arising under this chapter is filed, only the plaintiff or plaintiffs in the first filed action
shall be required to cause notice to be published . . . .” 15 U.S.C. § 78u-4(a)(3)(A)(ii).
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plaintiff.” 15 U.S.C. § 78u-4(a)(3)(A)(i). If an action has been consolidated, courts are directed

to appoint a lead plaintiff “as soon as practicable” after the consolidation decision. Id. § 78u-

4(a)(3)(B)(ii).

         [T]he court shall consider any motion made by a purported class member in
         response to the notice, including any motion by a class member who is not
         individually named as a plaintiff in the complaint or complaints, and shall
         appoint as lead plaintiff the member or members of the purported plaintiff
         class that the court determines to be most capable of adequately representing
         the interests of class members[.]

Id. § 78u-4(a)(3)(B)(i).

        Under the PSLRA, any plaintiff seeking to be lead plaintiff must file a certification that

states the following:

         (i) . . . the plaintiff has reviewed the complaint and authorized its filing;
         (ii) . . . the plaintiff did not purchase the security that is the subject of the
         complaint at the direction of plaintiff’s counsel or in order to participate in any
         private action arising under this chapter;
         (iii) . . . the plaintiff is willing to serve as a representative party on behalf of a
         class, including providing testimony at deposition and trial, if necessary[.]

Id. § 78u-4(a)(2)(A)(i)–(iii). The certification must also include a list of the plaintiff’s

transactions in the security, a list of all actions in which that plaintiff has sought to serve as lead

plaintiff in the past three years, and a statement that the plaintiff will not accept payment for

serving as a representative party in excess of plaintiff’s pro rata share of any recovery. Id. § 78u-

4(a)(2)(A)(iv)–(vi). In the cases sub judice, Daniel O’Leary has submitted the requisite

certification in compliance with 15 U.S.C. § 78u-4(a)(2)(A). (ECF No 12-4).

        A rebuttable presumption applies to a movant as the most adequate plaintiff if the

following factors are met:

         (aa) has either filed the complaint or made a motion in response to a notice
         under subparagraph (A)(i);
         (bb) in the determination of the court, has the largest financial interest in the
         relief sought by the class; and

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            (cc) otherwise satisfies the requirements of Rule 23 of the Federal Rules of
            Civil Procedure.

Id. § 78u-4(a)(3)(B)(iii)(I). This presumption can be overcome by a showing that a candidate will

be subject to unique defenses or is otherwise inadequate. Id. § 78u-4(a)(3)(B)(iii)(II).

        A.        Timely Filing of Motion

        The statutory notice associated with Case No. 2:19-cv-3186 was published on July 23,

2019. (ECF No. 12-3). On September 23, 2019, within 60 days of the published notice, Mr.

O’Leary timely filed his motion to serve as Lead Plaintiff of the purported class. 15 U.S.C. §

78u-4(a)(3)(B)(iii)(I)(aa).

        B.        Largest Financial Interest

        Mr. O’Leary is the only candidate for Lead Plaintiff, 4 and hence has the largest financial

interest with an approximate loss of $146,705.13 (ECF No. 12-5) during the proposed Class

Period. Id. § 78u-4(a)(3)(B)(iii)(I)(bb).

        C.        Rule 23 Requirements

        Federal of Civil Procedure Rule 23(a) provides that a party may serve as a class

representative if:

            (1) the class is so numerous that joinder of all members is impracticable;
            (2) there are questions of law or fact common to the class;
            (3) the claims or defenses of the representative parties are typical of the claims
            or defenses of the class; and
            (4) the representative parties will fairly and adequately protect the interests of
            the class.

Under the PLSRA, proposed plaintiffs “need only make a prima facie showing that they meet the

typicality and adequacy prerequisites of Rule 23.” Ohio Pub. Emps. Ret. Sys. v. Fannie Mae, 357



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         To the extent Mr. Mitts is requesting to be appointed Lead Plaintiff in this consolidated
action by way of his Complaint in Case No. 2:19-cv-3961, his purported loss of $10,138.60 is
significantly lower than Mr. O’Leary’s financial interest. (2:19-cv-3961: ECF No. 1-1).
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F. Supp. 2d 1027, 1034 (S.D. Ohio 2005) (citing In re Cendant Corp. Litig., 264 F.3d 201, 263 –

64 (3d Cir. 2001)). “The typicality requirement of Fed. R. Civ. P. 23(a)(3) is fulfilled if the

prospective lead plaintiff's claims arise out of the same course of conduct or series of events, and

are based on the same legal theory as the other members of the class.” Id. (citing In re Am. Med.

Sys., 75 F.3d 1069, 1082 (6th Cir. 1996)). “A plaintiff can show that it fairly and adequately

represents the interests of the class, pursuant to Rule 23(a)(4), if it appears that (1) plaintiff’s

interests are not antagonistic to those of the class they seek to represent and (2) plaintiff’s

counsel is qualified to conduct the litigation.” Id.

        Mr. O’Leary asserts claims that arise out of the same course of events as alleged by the

other members of the purported class and are based on the same legal theories. (Mot. Appoint

Pl., 5, ECF No. 12-1). Specifically, Mr. O’Leary provides that, like all class members, he

purchased L Brands securities during the Class Period based on alleged materially false and

misleading representations, in violation of federal securities law. (Id. at 5–6; O’Leary Decl., ¶ 6,

ECF No. 12-6). Mr. O’Leary also claims he has no interests antagonistic to those of the class and

has suffered damages in the same way as other class members as a result of buying L Brands

shares at artificially inflated prices. (Mot. Appoint Pl., 6). Finally, Mr. O’Leary asserts that his

chosen counsel possesses the requisite expertise and experience necessary to prosecute the

claims alleged in the Complaints, protecting the interests of the class. (Id.). The Court finds that

Mr. O’Leary “otherwise satisfies the requirements of Rule 23.” 15 U.S.C. §

78u-4(a)(3)(B)(iii)(I)(cc).

        Because Mr. O’Leary has filed a Lead Plaintiff Motion in a timely fashion, demonstrated

that he has the largest financial interest at stake, and has satisfied the adequacy and typicality

requirements of Fed. R. Civ. P. 23, he is entitled to the presumption that he is the most adequate



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plaintiff. Id. § 78u-4(a)(3)(B)(iii)(I). Additionally, because no purported class member has

adduced proof that Mr. O’Leary will not “fairly or adequately protect the interests of the class,”

or that he is subject to unique defenses, the Court holds that Mr. O’Leary is the most adequate

plaintiff in the securities fraud actions pending before this Court. Id. § 78u-4(a)(3)(B)(iii)(II).

IV.    APPOINTMENT OF LEAD COUNSEL

       Section 78u-4(a)(3)(B)(v) provides that “[t]he most adequate plaintiff shall, subject to

approval of the court, select and retain counsel to represent the class.” “Courts typically do not

disturb a lead plaintiff’s choice of counsel unless doing so is necessary to protect the interests of

the class.” Fannie Mae, 357 F. Supp. 2d at 1034. Upon review of Mr. O’Leary’s Motion and

Declaration, the Court finds no reason to disturb his choice of counsel. Accordingly, Robbins

Geller Rudman & Dowd LLP is appointed as Lead Counsel for the class.

V.     CONCLUSION

       For the foregoing reasons, Daniel O’Leary’s Motion for Consolidation of Related

Actions, Appointment as Lead Plaintiff, and Approval of Selection of Lead Counsel (ECF No.

12) is GRANTED. The Clerk is DIRECTED to consolidate Case Nos. 2:19-cv-3186 and 2:19-

cv-3961. The parties are ORDERED to comply with the deadlines established in Walker v. L

Brands, Inc., 2:19-cv-3186.

       Daniel B. O’Leary is APPOINTED as Lead Plaintiff for the class. Robbins Geller

Rudman & Dowd LLP is APPOINTED as Lead Counsel for the class.

       IT IS SO ORDERED.

                                                       /s/ Sarah D. Morrison______________
                                                       SARAH D. MORRISON
                                                       UNITED STATES DISTRICT JUDGE




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